     Case 2:23-cv-00123-WBS-SCR               Document 43       Filed 03/19/25      Page 1 of 2


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 8                                       UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    JONATHAN DAROSA,                                     No. 2:23-cv-0123-WBS-SCR
12                          Plaintiff,
13               v.                                        ORDER
14    LOWES HOME IMPROVEMENT,
15                          Defendant.
16

17               Plaintiff proceeds pro se in this matter, which was referred to a United States Magistrate

18    Judge pursuant to Local Rule 302(c)(21).

19               On February 21, 2025, the magistrate judge filed findings and recommendations herein

20    which were served on all parties and which contained notice to all parties that any objections to

21    the findings and recommendations were to be filed within fourteen days. ECF No. 39. Neither

22    party has filed objections to the findings and recommendations.

23               The court has reviewed the file and finds the findings and recommendations to be

24    supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

25    ORDERED that:

26               1. The findings and recommendations filed February 21, 2025 (ECF No. 39), are adopted

27    in full;

28               2. Defendant’s Motion to Dismiss (ECF No. 21), which seeks to dismiss one of the eight
                                                          1
     Case 2:23-cv-00123-WBS-SCR       Document 43     Filed 03/19/25   Page 2 of 2


 1    counts of the Second Amended Complaint, is DENIED.

 2    Dated: March 18, 2025

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